       Case 22-01109                  Doc 10         Filed 02/03/22 Entered 02/03/22 23:20:43                             Desc Imaged
                                                    Certificate of Notice Page 1 of 4
Information to identify the case:

Debtor 1:
                      John C Robinson                                            Social Security number or ITIN:   xxx−xx−7777
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                        Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Northern District of Illinois             Date case filed for chapter:         7     1/31/22

Case number:22−01109
Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                         10/20


For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.
The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     John C Robinson

2.        All other names used in the
          last 8 years

3.      Address                                  47 N. 5th Avenue
                                                 Des Plaines, IL 60016−4049

4.      Debtor's attorney                        Joseph P Doyle                                       Contact phone 847−985−1100
                                                 Law Office of Joseph P Doyle
        Name and address                         105 S Roselle Road                                   Email: joe@fightbills.com
                                                 Suite 203
                                                 Schaumburg, IL 60193

5.      Bankruptcy trustee                       Miriam R. Stein                                      Contact phone 847−745−6592
                                                 Gutnicki LLP
        Name and address                         4711 Golf Road                                       Email: mstein@gutnicki.com
                                                 Suite 200
                                                 Skokie, IL 60076
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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                                                       Certificate of Notice Page 2 of 4
Debtor John C Robinson                                                                                                               Case number 22−01109


6. Bankruptcy clerk's office                  Eastern Division                                                      Hours open:
                                              219 S Dearborn                                                        8:30 a.m. until 4:30 p.m. except
    Documents in this case may be filed at    7th Floor                                                             Saturdays, Sundays and legal
    this address. You may inspect all records Chicago, IL 60604                                                     holidays.
    filed in this case at this office or online at
    https://pacer.uscourts.gov.
                                                                                                                    Contact phone 1−866−222−8029

                                                                                                                    Date: 2/1/22

7. Meeting of creditors                              March 1, 2022 at 01:00 PM                                      Location:

    Debtors must attend the meeting to be            The meeting may be continued or adjourned to a Appear by VIDEO. See details,
    questioned under oath. In a joint case,          later date. If so, the date will be on the court www.justice.gov/ust−regions−r11,
    both spouses must attend. Creditors may
    attend, but are not required to do so.           docket.                                          Click: Chicago, Illinois Office
                                                     Debtors must bring a picture ID and proof of
                                                     their Social Security Number.

8. Presumption of abuse                              The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                       Filing deadline: 5/2/22
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                     You must file a complaint:
                                                     • if you assert that the debtor is not entitled to receive a discharge of any debts under any of the
                                                       subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                                     • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                     You must file a motion:
                                                     • if you assert that the discharge should be denied under § 727(a)(8) or (9).


                                                     Deadline to object to exemptions:                              Filing deadline: 30 days after the
                                                     The law permits debtors to keep certain property as            conclusion of the meeting of creditors
                                                     exempt. If you believe that the law does not authorize an
                                                     exemption claimed, you may file an objection.


10. Proof of claim                                   No property appears to be available to pay creditors. Therefore, please do not file a proof
                                                     of claim now. If it later appears that assets are available to pay creditors, the clerk will
    Please do not file a proof of claim unless       send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                   deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                  The law allows debtors to keep certain property as exempt. Fully exempt property will not
                                                     be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                     exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                     https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                     that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                     receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                      page 2
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                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 22-01109-CAD
John C Robinson                                                                                                        Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Feb 01, 2022                                               Form ID: 309A                                                             Total Noticed: 12
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 03, 2022:
Recip ID                   Recipient Name and Address
db                     +   John C Robinson, 47 N. 5th Avenue, Des Plaines, IL 60016-2301
29647011               +   Advocate Health Care, 3075 Highland Parkway, Downers Grove, IL 60515-5560
29647012               +   Alden Des Plaines, 4200 W. Peterson Ave, Suite 140, Chicago, IL 60646-6819
29647014               +   Best Practices Inpatient Care, P.O. Box 268, Lake Zurich, IL 60047-0268
29647016               +   Cook County Clerk's Office, 118 N. Clark Street, Room 434, Chicago, IL 60602-1413

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: joe@fightbills.com
                                                                                        Feb 02 2022 02:41:00      Joseph P Doyle, Law Office of Joseph P Doyle,
                                                                                                                  105 S Roselle Road, Suite 203, Schaumburg, IL
                                                                                                                  60193
tr                     + EDI: QMRSTEIN.COM
                                                                                        Feb 02 2022 06:48:00      Miriam R. Stein, Gutnicki LLP, 4711 Golf Road,
                                                                                                                  Suite 200, Skokie, IL 60076-1236
29647013                   Email/Text: bankruptcy@alliance-collections.com
                                                                                        Feb 02 2022 02:41:00      Alliance Collection Agencies, Attn: Bankruptcy,
                                                                                                                  Po Box 1267, Marshfield, WI 54449
29647015               + EDI: CITICORP.COM
                                                                                        Feb 02 2022 06:48:00      Citibank/Best Buy, Citicorp Credit
                                                                                                                  Srvs/Centralized Bk dept, Po Box 790034, St
                                                                                                                  Louis, MO 63179-0034
29647017               + EDI: DISCOVER.COM
                                                                                        Feb 02 2022 06:48:00      Discover Financial, Attn: Bankruptcy, Po Box
                                                                                                                  3025, New Albany, OH 43054-3025
29647018                   Email/Text: Bankruptcy.Notices@pnc.com
                                                                                        Feb 02 2022 02:42:00      PNC Bank, PO Box 3429, Pittsburgh, PA 15230
29647019               + EDI: RMSC.COM
                                                                                        Feb 02 2022 06:48:00      Synchrony Car Care, Attn: Bankruptcy, Po Box
                                                                                                                  965064, Orlando, FL 32896-5064

TOTAL: 7


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
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District/off: 0752-1                                              User: admin                                                           Page 2 of 2
Date Rcvd: Feb 01, 2022                                           Form ID: 309A                                                       Total Noticed: 12

the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 03, 2022                                       Signature:           /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 1, 2022 at the address(es) listed
below:
Name                             Email Address
Joseph P Doyle
                                 on behalf of Debtor 1 John C Robinson joe@fightbills.com courts@fightbills.com;r44937@notify.bestcase.com

Miriam R. Stein
                                 mstein@gutnicki.com mstein@ecf.axosfs.com;IL82@ecfcbis.com;csmith@fgllp.com

Patrick S Layng
                                 USTPRegion11.ES.ECF@usdoj.gov


TOTAL: 3
